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                             Entered on Docket
                      5August 08, 2018
                    __________________________________________________________________
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                      17                                    UNITED STATES BANKRUPTCY COURT

                      18                                      FOR THE DISTRICT OF NEVADA
                      19        In re:                                               Case No.: BK-S-18-14683-leb
                                                                                     Chapter 11
                      20        GUMP’S HOLDINGS, LLC,
                                                  Debtor.                            Joint administration requested
                      21

                      22                                                             Hearing Date: August 9, 2018
                                                                                     Hearing Time: 2:00 P.M.
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                                                       NOTICE OF HEARING AND ORDER SHORTENING
                      25                                   TIME TO HEAR FIRST DAY MOTIONS

                      26                 On August 8, 2018, Gump’s Holdings, LLC, Gump’s Corp., and Gump’s By Mail, Inc.

                      27        (collectively, “Debtors”), debtors and debtors-in-possession, filed the following motions:

                      28                 (i)      Motion for Order Authorizing Maintenance of Prepetition Cash
Garman Turner Gordon LLP
 650 White Drive, Ste. 100
  Las Vegas, NV 89119
     (725) 777-3000                                                              1
                                4819-9181-0926, v. 1
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                        1                      Management System and Bank Accounts; and Granting Related Relief (the
                                               “Accounts Motion”);
                        2
                                      (ii)     Motion for Order (A) Approving Agency Agreement, (B) Authorizing and
                        3
                                               Approving Store Closing Sale Free and Clear of All Liens, Claims, and
                        4                      Encumbrances, (C) Granting Liens, and (D) Granting Related Relief (the
                                               “Agency Agreement Motion”); and
                        5
                                      (iii)    Emergency Motion for Interim and Final Orders (A) Authorizing the
                        6                      Debtors to Obtain Limited Post-Petition Financing, (B) Granting Liens
                                               and Providing Administrative Expense Status, (C) Authorizing the
                        7
                                               Debtors’ Limited Use of Cash Collateral, (D) Granting Adequate
                        8                      Protection, (E) Modifying the Automatic Stay, and (F) Granting Related
                                               Relief (the “Financing Motion”).
                        9
                             (collectively, the “First Day Motions”).
                      10
                                      In the First Day Motions, Debtors request interim and/or final orders approving and
                      11
                             authorizing: (i) maintenance of Debtors’ prepetition cash management system and bank
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                             accounts; (ii) assumption of the Agency Agreement and the store closing sale free and clear of all
                      13
                             liens, claims, and encumbrances; and (iii) Debtors to obtain postpetition financing, grant liens
                      14
                             and provide administrative expense status, Debtors’ use of cash collateral, adequate protection,
                      15
                             and other related relief.
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                                      The Court, having considered the Ex Parte Application for Order Shortening Time to
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                             Hear First Day Motions, and good cause appearing therefore,
                      18
                                      IT IS HEREBY ORDERED and notice is hereby given that the First Day Motions shall
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                             be heard by a United States Bankruptcy Judge on the       9th       day of       August
                      20
                                        2:00 P.M.
                             2018, at ______________.
                      21
                                      A copy of the above-referenced First Day Motions and any supporting declarations and
                      22
                             exhibits are available free of charge at www.donlinrecano.com/gumps, on file with the clerk of
                      23
                             the United States Bankruptcy Court for the District of Nevada, Foley Federal Building and U.S.
                      24
                             Courthouse, 300 S. Las Vegas Blvd, Las Vegas, NV 89101, or may be obtained by emailing
                      25
                             Mark M. Weisenmiller, Esq. at the address listed above.
                      26
                                      IT IS HEREBY FURTHER ORDERED that service of this Order Shortening Time
                      27
                             shall be served upon entry; that any oppositions to the First Day Motions may be presented at
                      28
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 650 White Drive, Ste. 100
  Las Vegas, NV 89119
     (725) 777-3000                                                          2
                             4819-9181-0926, v. 1
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                        1    the hearing and that this hearing may be continued from time to time without further notice
                        2    except for the announcement of any adjourned dates and times at the above noticed hearing or
                        3    any adjournment thereof.
                        4

                        5             IT IS SO ORDERED.

                        6    PREPARED AND SUBMITTED:

                        7    GARMAN TURNER GORDON LLP

                        8
                             By: /s/ Mark M. Weisenmiller
                        9        WILLIAM M. NOALL, ESQ.
                                 GABRIELLE A. HAMM, ESQ.
                      10         MARK M. WEISENMILLER, ESQ.
                                 Attorneys for Debtor
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                             4819-9181-0926, v. 1
